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10 Fax: (619) 255-1515
   Email: gerald@slffirm.com
11        glocurto@slffirm.com
12 Attorneys for Claimants,
   SLF Fire Victims
13
                                 UNITED STATES BANKRUPTCY COURT
14
                  NORTHERN DISTRICT OF CALIFORNIA - SAN FRANCISCO DIVISION
15

16
     In re                                                 Case No. 19-30088 (DM)
17
     PG&E CORPORATION,                                     Chapter 11
18
     and                                                   (Lead Case-Jointly Administered)
19
     PACIFIC GAS AND ELECTRIC COMPANY                      CERTIFICATE OF SERVICE
20              Debtors.
21 Affects:
        PG&E Corporation
22      Pacific Gas & Electric Company
23      Both Debtors

24 *All papers shall be filed in the Lead Case,
   No. 19-3008 (DM)
25

26           I, Layla Buchanan, do declare and state as follows:
27           1.     I am employed in Orange County in the State of California. I am over the age of 18
28 and not a party to this action. My business address is 870 Roosevelt, Irvine, California 92620.

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                                                of 4
 1         2.      I certify that on November 18, 2019, I caused a true and correct copy of each of the
 2 following documents to be served via e-mail on the Standard Party Email Service List attached

 3 hereto as Exhibit A:

 4 JOINDER BY THE SINGLETON LAW FIRM FIRE VICTIM CLAIMANTS IN THE

 5 1. MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF OPPOSITION TO
   DEBTORS' MOTION RE INVERSE CONDEMNATION FILED BY INDIVIDUAL FIRE
 6 VICTIM CREDITORS (Docket No. 4768); and

 7 2. RESPONSE BRIEF OF THE OFFICIAL COMMITTEE OF TORT CLAIMANTS
   CONCERNING THE APPLICABILITY OF INVERSE CONDEMNATION (Docket No.
 8 4773)
           3.      I certify that on November 18, 2019, I caused a true and correct copy of each of the
 9
   above documents to be served via First Class Mail on the Standard Party First Class Mail Service
10
   List attached hereto as Exhibit B.
11
           4.      I have reviewed the Notice of Electronic Filing for the above-listed document, and I
12
   understand that the parties listed in each NEF as having received notice through electronic mail were
13
   electronically served with that document through the Court’s Electronic Case Filing System.
14
           5.      I declare under penalty of perjury under the laws of the United States of America that
15
   the foregoing is true and correct and that if called upon to witness, I could and would testify
16
   competently thereto.
17
           Executed on November 18, 2019, at Irvine, California.
18
                                                                       /s/ Layla Buchanan
19                                                                        Layla Buchanan
20

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                                                                         EXHIBIT A
                                                              Standard Parties Email Service List
                                                                      Served via Email
                DESCRIPTION                            NAME                            NOTICE NAME                                  EMAIL
                                                                                                                stephen.karotkin@weil.com
                                                                            Attn: Stephen Karotkin, Jessica     matthew.goren@weil.com
Counsel to Debtor                          Weil, Gotshal & Manges LLP       Liou, Matthew Goren                 jessica.liou@weil.com
                                                                                                                tkeller@kellerbenvenutti.com
Counsel to Debtor                          Keller & Benvenutti LLP          Attn: Tobias S. Keller, Jane Kim    jkim@kellerbenvenutti.com
                                                                                                               pzumbro@cravath.com
                                                                                                               korsini@cravath.com
                                                                            Attn: Paul H. Zumbro, Kevin J.     jzobitz@cravath.com
                                                                            Orsinit, George E. Zobitz, Stephen skessing@cravath.com
                                                                            M. Kessing, Nicholas A. Dorsey,    ndorsey@cravath.com
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                                                                                                                khansen@stroock.com
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DIP Administrative Agent                  Stroock & Stroock & Lavan LLP Frank A. Merola                         fmerola@stroock.com
Counsel for the agent under the Debtors’
proposed debtor in possession financing
facilities, Counsel for Citibank N.A., as                                                                   eli.vonnegut@davispolk.com
Administrative Agent for the Utility                                    Attn: Eli J. Vonnegut, David Schiff,david.schiff@davispolk.com
Revolving Credit Facility                 Davis Polk & Wardwell LLP     Timothy Graulich                    timothy.graulich@davispolk.com
                                                                                                            akornberg@paulweiss.com
                                                                                                            bhermann@paulweiss.com
                                                                           Attn: Alan W. Kornberg, Brian S. wrieman@paulweiss.com
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Commission                                 Garrison LLP                    A. Mitchell, Neal P. Donnelly    ndonnelly@paulweiss.com
                                                                           Attn: James L. Snyder, Esq. &    James.L.Snyder@usdoj.gov
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Office of the United States Trustee        Trustee                         Villacorta                       Marta.Villacorta@usdoj.gov
Counsel for Interested Party United States
on behalf of the Federal Energy Regulatory
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Counsel for Official Committee of Tort                                      Attn: Eric E. Sagerman, Lauren T.   esagerman@bakerlaw.com
Claimants                                  BAKER & HOSTETLER, LLP           Attard                              lattard@bakerlaw.com




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                                                                                   EXHIBIT B
                                                              Standard Parties Hardcopy First Class Mail Service List
                                                                            Served via First Class Mail
             DESCRIPTION                        NAME                    NOTICE NAME                           ADDRESS 1        ADDRESS 2              CITY      STATE       ZIP

Debtors                             PG&E Corporation          Attn: President or General Counsel 77 Beale Street          P.O. Box 77000        San Francisco   CA      94177
                                    U.S. Nuclear Regulatory
Nuclear Regulatory Commission       Commission                Attn: General Counsel                  U.S. NRC Region IV   1600 E. Lamar Blvd.   Arlington       TX      76011




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